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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                    CHIEF MAGISTRATE JUDGE JOSEPH C. SPERO

                                  ZOOM CIVIL MINUTES



 Case No.: 21-cv-03234-EMC (JCS)
Case Name: Merante v. American Institute for Foreign Study, Inc.

 Date: February 9, 2022                        Time: 3.5 Hours
 Deputy Clerk: Karen Hom                       Digital Recorder: Not Reported

Attorney for Plaintiff: Matt Helland, Peter Rukin
Attorney for Defendant: Robert Tucker, Stephen J. Macri


                                   ZOOM PROCEEDINGS

()     Zoom Settlement Conference

       ( ) Case Settled       ( ) Case Did Not Settle       ( ) Partial Settlement

(X)    Further Zoom Settlement Conference - Held

       ( ) Case Settled       ( ) Case Did Not Settle       ( ) Partial Settlement

()     Zoom Scheduling Conference to set Settlement Conference

( )    Further Zoom Settlement Conference

( )    Discovery Conference – Lead Trial Counsel Meet and Confer

( )    Zoom Status Conference
( )    Other

Notes: Further settlement conference, if necessary, set for 3/23/2022 at 10:00 AM by Zoom
Meeting. Parties may use the same Zoom Meeting ID: 161 664 4640. Passcode: 841312.
Updated settlement statements due 3/16/2022 and emailed to jcssettlement@cand.uscourts.gov
Parties to submit pre-registration information by 3/16/2022 by 4:00 PM to
jcssettlement@cand.uscourts.gov

Parties in attendance: Isabella Merante, plaintiff. M. Stephen Rasch, defendant representative.
